Case 1:15-cv-00627-JTN-ESC ECF No. 22, PagelD.200 Filed 02/26/16 Page 1 of 2

FILED - LN

United States District Court for the Western reengIeRK OF COURT
U.S. DISTRICT COURT

District of Michigan WESTERN DISTRICT es
NM A2VIL

BY:___piwi SCANNED B'

Michael Barnhart

 

 

 

Plaintiff,

Ys. CASE NO. 1:15-cv-627

Nationstar Mortgage, LLC, and Does 1-10

 

 

 

Defendant.

NOTICE OF APPEAL

Michael Barnhart , hereby appeal

(here name all parties taking the appeal)
Final Judgment [xj

(the final judgment) (from an
4th

Notice is hereby given that

to the United States Court of Appeals for the Sixth Circuit from

 

ismissi Preiudi
Dismissing Case w/ Prejudice entered in this action on the day of

 

order (describing it))
February 2016

 

Address:
424 East Main St.

Potterville, Michigan 48876

 

cc: Opposing Counsel x
Court of Appeals — ¥

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Case 1:15-cv-00627-JTN-ESC ECF No. 22, PagelD.201 Filed 02/26/16 Page 2 of

Certificate of Service
I hereby certify that on February 26, 2016, I served the foregoing described as: Notice of Appeal
on all parties to this action by sending a true and correct copy thereof via United States First

Class Mail as follows:

Maddin, Hauser, Roth & Heller, P.C.
Attorneys for Defendant Nationstar
28400 Northwestern Highway, 2" Floor
Southfield, MI 48034

(248)354-4030

By First Class Mail:

As follows: By placing a true copy thereof enclosed in sealed envelope(s) addressed as above,
and placing each for collection and mailing on the date following ordinary business practices.
Under that practice it would be deposited with U.S. postal service on that same day with postage
thereon fully prepaid in the ordinary course of business. J am aware that on motion of the party
served, service is presumed invalid if postal cancellation date or postage meter is date is more
than one day after the date of deposit for mailing in affidavit.

Executed on February 26, 2016

I declare under penalty of perjury under the laws of the State of Michigan that the above is true
and correct.

Printed Name
fabled
Y

 

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Signature

 

 

NO

 

 

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Certificate of Service

 

 

 
